 

Case 3:16-cv-03109-S-BH Document 88 Filed 08/06/18 Page 1 of 1 Page|D 822

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT ()F TEXAS

Dallas Division

 

 

§
§
Enrique Zamarripa §
Piainnfr §
§
v § Civii Acrion No. 3;16-cv-3109-s_BH
§
§
§
Louis Farrakhan. et al §
Defendant §

CLERK'S ENTRY OF DEFAULT

The record reflects that service of the complaint has been made upon the Defendant
named below:

Deray McKesson

 

lt appears from the record that service of the complaint has been made, that the Defendant
has failed to answer or otherwise defend as directed within the time allowed, and that the Plaintiff
has shown that failure through affidavit or otherwise

Therefore, upon Plaintiff‘s request, DEFAULT is entered against the Defendant
named above.

KAREN S. MITCHELL, CLERK
U.S. DISTRICT COURT

By: Deputy C_l'eH< On 8/6/1?

